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IN THE UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

IN RE: CHAPTER 7
CARMEN RESHUN SMITH A/K/A

CARMEN RESHUN BANKSTON, . CASE NO.: 24-55036

Debtor. JUDGE CAVENDER
VELONIE BLAKE-WILLIAMS AND
ALPHONSO WILLIAMS,
Movants,
v. CONTESTED MATTER

CARMEN RESHUN SMITH A/K/A
CARMEN RESHUN BANKSTON,

Respondent.

MOTION FOR RELIEF FROM STAY

COMES NOW Movant in the above-styled action, and shows the Court as

follows:
1.

This is a Motion under Section 362(d) and Section 1301(c) of the Bankruptcy
Code seeking relief from the existing stay for the purpose of dispossessing Debtor
Carmen Reshun Smith a/k/a Carmen Reshun Bankston from certain residential real
property located at 5529 Swanson Road, Ellenwood, Georgia 30294 under Movants’
Lease Agreement. This action may be maintained by Motion under the Rules of

Bankruptcy Procedure. -
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2.

Movants are the Landlords of the property known as 5529 Swanson Road,
Ellenwood, Georgia 30294, under a Residential Lease Agreement. Debtor Carmen Smith
a/k/a Carmen Bankston is a party to this Agreement. A copy of the Lease Agreement is
attached hereto as Exhibit “A” and incorporated herein by reference.

2.

Debtor Carmen Smith a/k/a Carmen Bankston is the Tenant of the property

known as 5529. Swanson Road, Ellenwood, Georgia 30294, under a Residential Lease

Agreement with Movants. Debtor Carmen Smith a/k/a Carmen Bankston is past due

on the rent for said premises. The monthly rent is $3200.00, plus late fees. Debtor

Carmen Smith a/k/a Carmen Bankston owes Movant $5340.00 in prepetition rent and
late fees and $3520 in postpetition rent and late fees. A copy of the payment and rent
ledger is attached hereto as Exhibit “B” and incorporated herein by reference. Debtor
remains in possession of said premises, for a total indebtedness of $8560.00 as of June 4,

2024.

3.

Movants are not adequately protected and should be permitted to proceed with a
dispossessory action in the Clayton County Magistrate Court against Debtor to regain
possession of the property. Movants are unable to enforce their contractual rights unless
the Court terminates, annuls, modifies, or otherwise conditions the automatic stay

under 11 U.S.C. § 362.

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WHEREFORE, Movants pray for an Order relieving them from the Stay and
authorizing Movant to proceed with his dispossessory action in the Clayton County
Magistrate Court to regain possession of the premises, and further prays for said Order

to provide for a waiver of Rule 4001 (a)(3).

THIS __4 _ day of June, 2024.

[s/
Lee B. Perkins
Georgia State Bar No.: 572256
Attorney for Movants

3715 Northside Parkway NW
Building 100, Suite 500
Atlanta, Georgia 30327

(404) 231-9229
law@leeperkins.com

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CERTIFICATE OF SERVICE

This is to certify that have I served a true and correct copy of the foregoing
MOTION FOR RELIEF FROM STAY by depositing a copy of same in the United States
Mail, with sufficient postage affixed thereon to assure delivery to the parties listed
below:

Ms. Carmen Reshun Smith a/k/a
Ms. Carmen Reshun Bankston _
5529 Swanson Road

Ellenwood, Georgia 30294

Kathleen Steil, Esq., Trustee
P.O. Box 1547
Decatur, Georgia 30031

United States Trustee

75 Ted Turner Drive SW
Room 362

Atlanta, Georgia 30303

DATED this__4 _ day of June, 2024.

/s/
Lee B. Perkins
Georgia State Bar No.: 572256

Attorney for Movants

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IN THE UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

IN-RE: CHAPTER 7

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CARMEN RESHUN SMITH A/K/A )

CARMEN RESHUN BANKSTON, CASE NO.: 24-55036

Debtor. JUDGE CAVENDER

VELONIE BLAKE-WILLIAMS AND
ALPHONSO WILLIAMS, .

Movants,

V. CONTESTED MATTER

CARMEN RESHUN SMITH A/K/A
CARMEN RESHUN BANKSTON,

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Respondent. )
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NOTICE OF HEARING

PLEASE TAKE NOTICE that Velonie Blake-Williams and Alphonso
Williams have filed a Motion for Relief From the Automatic Stay pursuant to 11
U.S.C. § 362(d) and related papers with the Court seeking an order lifting the —
Automatic Stay pursuant to 11 U.S.C. § 362(d).

PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on

the Motion for Relief from the Automatic Stay at 10:00 am., on June 20, 2024 in
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Courtroom 1203, United States Courthouse, 75 Ted Turner Drive, S.W., Atlanta,
Georgia 30303, which may be attended in person or via the Court’s Virtual Hearing
Room. You may join the Virtual Hearing Room through the “Dial-in and Virtual
Bankruptcy Hearing Information” link at the top of the homepage of the Court’s

website, www.ganb.uscourts.gov, or the link on the judge’s webpage, which can also

be found of the Court’s website. Please also review the “Hearing Information” tab on
the judge’s webpage for further information about the hearing. You should be
prepared to appear at the hearing via video, but you may leave your camera in the off
position until the Court instructs otherwise. Unrepresented persons who do not have
video capability may use the telephone dial-in information on the judge’s webpage.

Your rights may be affected by the Court’s ruling on these pleadings. You
should read these pleadings carefully and discuss them with your attorney, if you
have one in this bankruptcy case. (If you do not have an attorney, you may wish to
consult one.) If you do not want the Court to grant the relief sought in these
pleadings or if you want the Court to consider your views, then you and/or your
attorney must attend the hearing.

You may also file a written response to the pleading with the Clerk at the
address stated below, but you are not required to do so. If you filé a written
response, you must attach a certificate stating when, how and on whom (including
addresses) you served the response. Mail or deliver your response so that it is
received by the Clerk at least two business days before the hearing. The address of

the Clerk’s Office is: Clerk, US. Bankruptcy Court, Suite 1340, 75 Ted Turner
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Drive, SW, Atlanta, Georgia 30303. You must also mail a copy of your response to
the undersigned at the address stated below.

If a hearing on the motion for relief from the automatic stay cannot be held
within thirty (30) days, Movant waives the requirement for holding a preliminary
hearing within thirty days of filing the motion and agrees to a hearing on the earliest
possible date. Movant consents to the automatic stay remaining in effect until the
Court orders otherwise.

This 4 day of June, 2024.

/s/
Lee B. Perkins, Esq.
Georgia Bar No. 572256
Attorney for Movants
3715 Northside Parkway N.W.
Building 100, Suite 500
Atlanta, Georgia 30327

(404) 231-9229
(678) 573-2578 — Facsimile
law@leeperkins.com

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CERTIFICATE OF SERVICE

This is to certify that I have this day I electronically filed the foregoing
N OTICE OF HEARING with the Clerk of Court using the CM/ECF system which
will automatically send an e-mail notification of such filing to the parties or attorneys
of record. I also have on this day deposited a copy of same in the United States mail
with sufficient postage affixed thereon to ensure delivery to the following recipient

and address listed below who is not participating in the CM/ECF system:

Ms. Carmen Reshun Smith a/k/a
Ms. Carmen Reshun Bankston
5529 Swanson Road

Ellenwood, Georgia 30294

This 4 day of June, 2024.
/s/
Lee B. Perkins, Esq.
Georgia Bar No. 572256
Attorney for Movants
3715 Northside Parkway N.W.

Building 100, Suite 500
Atlanta, Georgia 30327
(404) 231-9229
law@leeperkins.com

